     Case
      Case2:16-cr-00291-GMN-DJA
            2:16-cr-00291-GMN-PAL Document
                                  Document60  Filed02/07/17
                                           58 Filed 02/09/17 Page
                                                              Page11
                                                                   ofof
                                                                      33



 1    JOHN G. GEORGE, ESQ.
      Nevada Bar No. 12380
 2    LAW OFFICE OF JOHN GEORGE
      732 S. 6th Street Suite 100
 3    Las Vegas, Nevada 89101
      Telephone:      (702) 382-1200
 4    Facsimile:      (702) 446-1577
      E-mail: johngeorgejr@fastmail.fm
 5    Attorney for Defendant
      JOHN FORD EPPS
 6

 7

 8                                    UNITED STATES DISTRICT COURT
 9
                                             DISTRICT OF NEVADA
10

11

12    UNITED STATES OF AMERICA,

13                       Plaintiff,

14    v.                                             CASE NO. 2:16-CR-00291-GMN-PAL

15

16    JOHN FORD EPPS,

17                      Defendant.

18

19
                     SECOND MOTION TO CHANGE PRE-TRIAL CONDITIONS
20
             COMES NOW JOHN FORD EPPS by and through his attorney John G. George and
21
      hereby requests that this honorable court temporarily modify his condition s of release for the
22

23    purpose of fulfilling a mandate by this Court. This motion is made based on the attached

24    memorandum of points and authorities, the papers and pleadings filed herein and any arguments
25    permitted by the court at a hearing.
26
27

28
     Case
      Case2:16-cr-00291-GMN-DJA
            2:16-cr-00291-GMN-PAL Document
                                  Document60  Filed02/07/17
                                           58 Filed 02/09/17 Page
                                                              Page22
                                                                   ofof
                                                                      33



 1                     MEMORANDUM OF POINTS AND AUTHORITIES

 2
             On September 30, 2016 a complaint was filed naming Defendant EPPS and co-defendants
 3
      Johnny Tovar, and Marcus Richardson alleging violations of 21 U.S.C. §§ 841(a)(1) and
 4

 5    (b)(1)(C), Conspiracy to Distribute Heroin. (ECF. No. 1) All defendants were required to avoid

 6    contact between themselves. Recently, the other defendants requested in unopposed motions that

 7    they be permitted to interact because they were very close before being charged. Those motions
 8
      were granted.
 9
             Defendant Epps was also required by the Court to remedy an outstanding warrant in Los
10
      Angeles County for a charge that is many years old. However, Defendant Epps is prohibited
11
      from leaving the State of Nevada. He needs to be able to travel to Los Angeles to fulfill the
12

13    mandate of this Court that he remedy that warrant.

14           Defendant Epps requests that this Court permit him to visit Los Angeles so that he can
15    address the matter of the warrant. After a discussion with his pre-trial supervisor, counsel
16
      believes that it will save imposition on the Court and enable Mr. Epps to successfully address this
17
      matter if the Court will permit his pre-trial supervisor to regulate and supervise his travel to
18
      California.
19

20    CONCLUSION

21           Defendant Epps respectfully requests that this honorable Court permit him to travel to Los

22    Angeles and to visit with his co-defendants.
23    DATED this 8th day of February, 2017.
24                                                   /s/ John George
                                                     JOHN G. GEORGE, ESQ.
25                                                   Nevada Bar No. 12380
                    February 9, 2017                 732 S. 6th Street Suite 100
26                                                   Las Vegas, Nevada 89101
                                                     Telephone:(702) 382-1200
27
                                                     Facsimile:(702) 446-1577
28                                                   Attorney for Defendant John Ford Epps

                                                      -2-
     Case
      Case2:16-cr-00291-GMN-DJA
            2:16-cr-00291-GMN-PAL Document
                                  Document60  Filed02/07/17
                                           58 Filed 02/09/17 Page
                                                              Page33
                                                                   ofof
                                                                      33



 1            CERTIFICATE OF SERVICE
 2                   I hereby certify that on this 8th day of February, 2017, I served a true and correct
 3
      copy of this Second Motion to Change Conditions of Release addressed to the following party as
 4
      follows:
 5
          x    via Electronic Service: mandatory electronic service (e-service), proof of e-service
 6            attached to any copy filed with the Court; or
 7            via facsimile transmission, proof of transmission attached to any copy filed with the
              Court; or
 8
           via e-mail, proof of transmission attached to any copy filed with the Court; or
 9
          via U.S. Mail: By placing a true copy thereof enclosed in a sealed envelope with postage
10           thereon fully prepaid, addressed as indicated on the service list below in the United States
             mail at Las Vegas, Nevada to the below address:
11
      Robert Knief
12    Assistant United States Attorney
      United States Attorney’s Office
13    501 Las Vegas Blvd. South, Suite 1100
14    Las Vegas, Nevada 89101
      (702) 388-6336
15

16

17
                                                                   /s/ John George
18                                                                 An employee of
                                                                   Law Office of John George
19

20
21

22

23

24

25

26
27

28

                                                     -3-
